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                                            CAA,qNT
September 27,2012




                                     CAAAV Organizing Asian Communities
                                                      Statement on
                      U.S. Department Of Education Office of Civil Rights Complaint
                            of the NYC Coalition for Educational Justice, et al.
                            Regarding New York City Specialized High Schools

CAAAV Organizing Asian Communities suppofts the complaint filed by the NAACP LegalDefense and
Educational Fund and Latino Justice PRLDEF challenging the current adnrissions policy for New York
City's Specialized High Schools.

The current admissions process, which relies only on the Specialized High School Adrnissions Test
(SHSAT), has a discriminatory impact on students of color. The admittance rate for Afi'ican American and
Latino students is significantly lower than their peers, resulting in severe racial isolation of these students at
top school's such as Stuyvesant and Bronx Science.

A multiple measures approach accounting for middle school grades, attendance, geographical location, or
student portfolio would allow for a more reasonable admissions process. Students of color, including low-
ilcotle Asiap Arrrerican students from ethnic communities less represerrted at the specialized high schools.
would havc a morc cquitable chance at attending these schools. AII students at the specialized high schools,
including Asian Americans. stand to benefit fiom a student body that better reflects the diverse backgrounds
of New York City.

The SHSAT, which has not been validated to assess true academic nrerit, overlooks many qualified students
who would succeed in a challenging academic environment. As suclr, CAAAV Organizing Asian
Commr-rnities shares complainants' concerns with the current adnrissiorrs policy for the specialized high
schools. We support expanding educational opportunity for all students, especially tlrose f}om low-income
immigrant communities of color.




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